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         In the United States Court of Federal Claims
                                         No. 21-79
                                  Filed: February 4, 2021

                                             )
 ORBIS SIBRO, INC.,                          )
                                             )
                   Plaintiff,                )
                                             )
 v.                                          )
                                             )
 THE UNITED STATES,                          )
                                             )
                   Defendant,                )
                                             )
                   and                       )
                                             )
 ULTRA ELECTRONICS OCEAN                     )
 SYSTEMS, INC.,                              )
                                             )
                   Defendant-Intervenor.     )
                                             )

                                            ORDER

        On January 5, 2021, plaintiff, Orbis Sibro, Inc., filed its Complaint and Motion for
Preliminary Injunction with this Court. See generally Complaint, ECF No. 1; Plaintiff’s Motion
for Preliminary Injunction, ECF No. 6. On January 28, 2021, the Court held oral argument on
plaintiff’s Motion for Preliminary Injunction, during which the Court issued a bench ruling
denying plaintiff’s Motion. See generally Order Denying Plaintiff’s Motion for Preliminary
Injunction, ECF No. 25. Subsequently, on February 3, 2021, plaintiff filed its Unopposed
Motion to Dismiss, requesting that this Court “dismiss this protest with prejudice.” Plaintiff’s
Unopposed Motion to Dismiss at 1, ECF No. 27. For good cause shown, plaintiff’s Unopposed
Motion to Dismiss is GRANTED, and plaintiff’s Complaint is hereby dismissed with prejudice.

       IT IS SO ORDERED.


                                                  s/   Loren A. Smith
                                                 Loren A. Smith,
                                                 Senior Judge
